Case 4:07-cv-05944-JST Document 4440-6 Filed 02/26/16 Page 1 of 28

ATTACHMENT 5
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Robert J. Bonsignore, Esq.

BONSIGNORE TRIAL LAWYERS, PLLC
3771 Meadowcrest Drive

Las Vegas, NV 89121

Phone: 781-856-7650

Email: rbonsignore@class-actions.us

Counsel for Indirect Purchaser Plaintiffs

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION
IN RE: CATHODE RAY TUBE (CRT) Case No. 3:07-cv-5944
ANTITRUST LITIGATION MDL No. 1917
CLASS ACTION

DECLARATION OF JOSH MANSFIELD RE:
This Document Relates to: ARCHIVE EMAILS

All Indirect Purchaser Actions

DECLARATION OF JOSH MANSFIELD RE: ARCHIVE EMAILS - Case No. 307-cv-5944, MDL No. 1917

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Case 4:07-cv-05944-JST Document 4440-6 Filed 02/26/16 Page 3 of 28

I, Josh Mansfield, declare as follows:

1. I am the owner of Freedom IT and have personal knowledge of the facts stated in
this declaration and, if called as a witness, I could and would testify competently to them. I make
this declaration in support of Bonsignore Trial Lawyers PLLC Objection to Special Master’s
Report and Recommendation on Final Approval of Class Action Settlement and Award of
Attorneys” Fees and Other Expenses and Awards and Request for Denovo Order.

2. Bonsignore Trial Lawyers, PLLC (“BTL”) requested Freedom IT to pull emails
from their business record archives, including complete strings. I personally set up BTL’s email
archive system. At the time I did so, their complete records were mechanically transferred to the
archives “as is” per their instruction.

3. Since that time I have maintained those email records and they remain as they were
on the date of transfer.

4, The date on each email I produced is the date of its the original creation and the
data representing who the email was sent from and who the recipient was is correct and intact and
appears as it did on the date is was generated by the email system.

5. I pulled the following records pursuant to the request of Mr. Bonsignore:

a. Exhibit 1 — Email from Ms. Carolyn Jorgenson dated March 2, 2012 relating to
CRT TV Model;

b. Exhibit 2 — Email from Robert Bonsignore to MDL 1917 Lead Counsel Mario
Alioto dated March 1, 2012 advising him he was missing Class Representatives including New
Hampshire;

c. Exhibit 3 —- Email to Ms. Carolyn Jorgenson from Robert Bonsignore copying MDL
1917 Lead Counsel Mario Alioto dated March 5, 2012.

d. Exhibit 4 — Email from Ms. Carolyn Jorgenson dated March 6, 2012 with attached
Fee Agreement; and

e. Exhibit 5 - Email from Robert Bonsignore to MDL 1917 Lead Mario Alioto dated
March 6, 2012 with attached first Putative Missouri Class Representative David Perriman’s name,

address and phone; David Perriman’s CRT TV purchase history and photographs of multiple

Case 4:07-cv-05944-JST Document 4440-6 Filed 02/26/16 Page 4 of 28

Perriman TV's and TV identification numbers: a first drafi Confirmation of Purchase Affidavit:
and finally ~ Parriman’s local counsels contact information.
| declare under penalty of perjury that the foregoing is true and correct. Executed this 12"

day of February 12. 2016, Wells, Maine.

Josh Mansfield

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EXHIBIT 1
Robert Bonsignore Trial Lavy Ai 4ERnCV-05944-JST Document 4440-6 Filed 02/26/16 Page 6 of 28 2/12/16, 12:08 PM

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ty ak vite .

Robert Bonsignore <rbonsiqnore@class-actions.us>

Fwd: TV

1 message

Archive User <archive@class-actions.us> Thu, Feb 11, 2016 at 12:55 PM
To: Lisa Sleboda <Isleboda@class-actions.us>, Robert Bonsignore <rbonsignore@class-actions.us>

wenn Forwarded message ----------

From: Carolyn Jorgensen <cjorgensen@class-actions.us>
Date: Fri, Mar 2, 2012 at 1:33 PM

Subject: TV

To: Robert Bonsignore <rbonsignore@class-actions.us>

TV is a Sanyo

July 1995
serial # V5290486805519

What a MONSTER! | do not believe | have the manual...

~ Carolyn

https://mail.google.com/mail/u/0/?ui=28ik=0338eda5898&view=pt&q=archive&qs=true&search=query&th=1 52d 1 78e849fc944&siml=152d1 78e849fc944 Page 1 of 1
Case 4:07-cv-05944-JST Document 4440-6 Filed 02/26/16 Page 7 of 28

EXHIBIT 2
Robert Bonsignore Trial LabyA RG 4:0/-cv-05944-JST Document 4440-6 Filed 02/26/16 Page 8 of 28 of 2/16, 12:09 PM

Gm

teeth:

Robert Bonsignore <rbonsignore@ciass-actions.us>

=

Fwd :

tT message

Archive User <archive@class-actions.us> Thu, Feb 11, 2016 at 12:59 PM
To: Lisa Sleboda <Iisleboda@class-actions.us>, Robert Bonsignore <rbonsignore@class-actions.us>

wonenne ee Forwarded message ----------

From: Robert Bonsignore <rbonsignore@class-actions.us>

Date: Thu, Mar 1, 2012 at 9:39 PM

Subject: Re:

To: "Mario N. Alioto" <malioto@tatp.com>

Cc: "<rbonsignore@classactions.us>" <rbonsignore@classactions.us>

This is the first I've been advised of the need for anything. No requests were ever sent to me. | think you are missing
states such as New Hampshire.

Robert J. Bonsignore

Trial Lawyer

Bonsignore and Brewer

193 Plummer Hill Road

Belmont, NH 03220

(781) 856 7650 (cell)

Sent from my iPhone

On Mar 1, 2012, at 9:03 PM, "Mario N. Alioto" <malioto@tatp.com> wrote:

Attached is the chart summarizing the responses to the questionnaire sent out to class reps in August
2008 which | referred to in our call today.

Mario N. Alioto, Esq.

TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP
2280 Union Street

San Francisco, CA 94123

Telephone:415 447-1650

Facsimile:415 346-0679

This message is sent by a law firm and may contain information that is privileged or
confidential. If you received this transmission in error, please notify the sender by e-mail and

https://mail.google.corn/mail/u/0/?ui=2&ik=0338eda589&view=pt&q=archive&qs=true&search=query&th=152d1 7d2a657e90b&siml=152d1 7d2a657e90b Page 1 of 2
Robert Bonsignore Trial Lala w@i 42M’ -CV-05944-JST Document 4440-6 Filed 02/26/16 Page 9 of 28 2/12/16, 12:09 PM

delete the message and any attachments.

<CRT--Analysis of Indirect Purchaser States & Class Reps.doc>

https://mail.google.com/mail/u/0/?ui=2&ik=0338eda5898view=pt&q=archive&qs=true&search=query&th=152d17d2a657e90b&siml=1 52d17d2a6576e90b Page 2 of 2
Case 4:07-cv-05944-JST Document 4440-6 Filed 02/26/16 Page 10 of 28

EXHIBIT 3
Case OioGV05944dSTL Documantddd0+6 RilecLO2s26hle, Page 110h28

From: Robert Bonsignore rbonsignore@class-actions.us
Subject: CRT TV
Date: March 5, 2012 at 5:30 PM
To: Carolyn Jorgerisen clorgensen@class-actions.u
Ce: Alioto Mario malioto@tatp.com -
Boe: Robert Bonsignore roonsignore @class-actions.us

Ok do you remember where you bought it and how much you paid?
Robert J. Bonsignore

Trial Lawyer

Bonsignore and Brewer

193 Plummer Hill Road

Belmont, New Hampshire 03220

781 856 7650 CELL

rbonsignore @class-actions.us

On Mar 2, 2012, at 1:33 PM, Carclyn Jorgensen wrote:

TV is a Sanyo

July 1995
serial # V5290486805519

What a MONSTER! I do not believe I have the manual...

~ Carolyn
Case 4:07-cv-05944-JST Document 4440-6 Filed 02/26/16 Page 12 of 28

EXHIBIT 4
Robert Bonsignore Tal LSnfanait QE-GQ2944-JST Document 4440-6 Filed 02/26/16 Page 13 0f 28 anone, 12:11PM

Gn

by id watle

| Rooert Sonsignore <roonsignore@class-actions.us>

|

Fwd: CRT TV

Archive User <archive@class-actions.us> Thu, Feb 11, 2016 at 12:56 PM
To: Lisa Sleboda <lsleboda@class-actions.us>, Robert Bonsignore <rbonsignore@class-actions.us>, josh@freedom-it.biz

wannnnnn=- Forwarded message ----------

From: Carolyn Jorgensen <cjorgensen@class-actions.us>
Date: Tue, Mar 6, 2012 at 11:12 AM

Subject: Re: CRT TV

To: Robert Bonsignore <rbonsignore@class-actions.us>
Cc: Gray Echavarria <gechavarria@class-actions.us>

Attached are the signed papers. | could not tell if all three pages were being sent together, so | sent each page
separately.
Hope you are having a great day!

~ Carolyn

From: Robert Bonsignore [mailto:rbonsignore@class-actions.us]
To: Carolyn Jorgensen [mailto:cjorgensen@class-actions.us]
Sent: Mon, 05 Mar 2012 19:43:16 -0500

Subject: Re: CRT TV

Yes send it.

Robert J. Bonsignore

Trial Lawyer

Bonsignore and Brewer

193 Plummer Hill Road
Belmont, New Hampshire 03220
781 856 7650 CELL
rbonsignore@class-actions.us

On Mar 5, 2012, at 6:53 PM, Carolyn Jorgensen wrote:

I believe I purchased it from Service Merchandise, and it cost about $649 (I think).

I will scan the paper work tomorrow if you still want it.

https://mail.google.com/mail/u/0/?ui=2&ik=0338eda5898view=pt&q=archive&qs=true&search=query&msg=1 5201 7a4cfbaaba3&siml=152d1 7a4cfbaaba3 Page 1 of 3
Robert Bonsignore Trial Laue Mait QE GQS944-JST Document 4440-6 Filed 02/26/16 Page 14 0f 28  ayane,t211 pM

~ Carolyn

From: Robert Bonsignore [mailto:rbonsignore@class-actions.us]
To: Carolyn Jorgensen [mailto:cjorgensen@class-actions.us]
Cc: Alioto Mario [mailto:malioto@tatp.com]

Sent: Mon, 05 Mar 2012 17:30:46 -0500

Subject: CRT TV

Ok do you remember where you bought it and how much you paid?
Robert J. Bonsignore

Trial Lawyer

Bonsignore and Brewer

193 Plummer Hill Road

Belmont, New Hampshire 03220

781 856 7650 CELL

rbonsignore@class-actions.us

On Mar 2, 2012, at 1:33 PM, Carolyn Jorgensen wrote:

TV is a Sanyo

July 1995
serial # 5290486805519

What a MONSTER! | do not believe | have the manual...

~ Carolyn

3 attachments

https://mail.google.com/mail/u/0/?ui=2&ik=0338eda589&view=pt&q=archive&qs=true&search=query&msg=1 52d 7a4cfbaaba3&siml=152d1 7ad4cfbaaba3 Page 2 of 3
Robert Bonsignore Trial Law Gat Bd-Gar 6944-JST Document 4440-6 Filed 02/26/16 Page 15 of 28 2/12/16, 12:11 PM

Carolyn Jorgensen MDL No. 1917 pg 1.jpg
409K

Carolyn Jorgensen MDL No. 1917 pg 2.jpg
352K

Carolyn Jorgensen MDL No. 1917 pg 3.jpg
397K

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RE:

Case Name:

Case Number:

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1, CAR

ATTORNEY REPRESENTATION AGREEMENT

MDL No. 1917 In Re: Cathode Ray Tube (CRT) Antitrust
Litigation
3:07-cv-05944-SC

Indirect Purchaser Plaintiffs

LDEAC CLIENT”) retain the law firms of and

Robert Bonsignore of BONSIGNORE & BREWER (hereinafier “ATTORNEYS”), to be
my attorney in connection with the above-referenced action.

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Attorney Representation Agreement

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2/12/16, 12:44 PM

Page 1 of 1
Carolyn Jorgensen MDL No.8? 4 244-CV-05944-JST Document 4440-6 Filed 02/26/16 Page 17 of 28

7. ATTORNEYS shall have the right to associate other attorneys at

no additional expense to CLIENT.

DATED: Sle hacia

CLIER

TS FRAARLW OSH

MAILING ADDRESS

KAA JAW 22206.

CITY

STATE ZIP

(COB BIT-0L09

HOME TELEPHONE (Include Area Code)

(O38) C20-O8B 2

WORK TELEPHONE (Include Area Code)

ACCEPTED BY ATTORNEYS:

BONSIGNORE & BREWER/_

Attorney Representation Agreement

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2/2/16, 12:12 PM

Page 1 of 1
Carolyn Jorgensen MDL Ne: RHE pg 3Gg-CV-05944-JST Document 4440-6 Filed 02/26/16 Page 18o0f 28 — aprsje,

about:blank

I have reviewed and acknowledge my duties as a class representative in the |
proceedings.

Dated:

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Duties of Class Representatives
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Attorney Representation Agreement

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Page 1 of 1
Case 4:07-cv-05944-JST Document 4440-6 Filed 02/26/16 Page 19 of 28

EXHIBIT 5
Robert Bonsignore Trial wa beait deVeer Srbhash AG@ymM ent 4440-6 Filed 02/26/16 Page 20 of 28 2/12/16, 12:14 PM

@M Robert Bonsignore <rbonsignore@ciass-actions.us>

fy aig

Fwd: David Perriman TV Purchase History

Archive User <archive@class-actions.us> Thu, Feb 11, 2016 at 12:58 PM
To: Lisa Sleboda <lsleboda@class-actions.us>, Robert Bonsignore <rbonsignore@class-actions.us>

ween cann Forwarded message ---------

From: Robert Bonsignore boundary=Apple-Mail-062139C1-C3D5-4A73-84CD-D78B0D0764EC
<rbonsignore@class-actions.us>

Date: Tue, Mar 6, 2012 at 9:49 PM

Subject: Fwd: David Perriman TV Purchase History

To: Mario Alioto <malioto@tatp.com>

Robert J. Bonsignore
Trial Lawyer
Bonsignore and Brewer
193 Plummer Hill Road
Belmont, NH 03220
(781) 856 7650 (cell)
Sent from my iPhone

Begin forwarded message:

From: Office <deryl@dedwardslaw.com>

Date: March 6, 2012 9:44:26 PM EST

To: Robert Bonsignore <rbonsignore@class-actions.us>
Subject: Fwd: David Perriman TV Purchase History

Sent from my iPhone

Begin forwarded message:

From: <office@dedwardsiaw.com>

Date: March 6, 2012 6:21:14 PM CST

To: "Karl Dickhaus" <kari@faxlaw.com>, "Office" <deryi@dedwardsiaw.com>
Subject: David Perriman TV Purchase History

David Perriman

27300 Maple Road

Carl Junction, MO 64834
Telephone: 417-365-3652

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Sarah Goolsby

Secretary for Deryl Edwards, Jr.
606 S. Pearl

Joplin, MO 64801

(417) 624-1962

Fax: (417) 624-1965

deryi@dedwardslaw.com

a] Perriman TV Purchase 3-6-2012. pdf
1307K

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TV PURCHASE HISTORY

| David Perriman here by state that in the year 1999 around the
first quarter, after | had received my income tax return, went with my
wife to Wal-Mart in Joplin Missouri and purchased two Magnavox TV
sets. Cost of said TV sets at the time of purchase was somewhere in

the range of $700.00.

Name

Date

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